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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  UNITED STATES OF AMERICA,
  ex rel. BEN BANE

              Plaintiff,

  v.                                            Case No.    8:06-cv-40-T-33MAP


  BREATHE EASY PULMONARY
  SERVICES, INC. et al.,

            Defendants.
  _______________________/

                                       ORDER

       This matter comes before the Court pursuant to Lincare’s

  Motion    for   Summary   Judgment    (Doc.   #   199),   and   Breathe    Easy

  Pulmonary Services, Inc.’s and Premier Cardio Pulmonary Medical,

  Inc.’s Motion for Summary Judgment (Doc. # 201), both filed on

  November 3, 2008.     Relator Ben Bane filed responses thereto (Doc.

  ## 209, 210) on November 26, 2008.           For the reasons stated below,

  Lincare’s motion for summary judgment is due to be granted and

  Breathe Easy/Premier’s motion for summary judgment is due to be

  denied.

  I.   Background

       On July 24, 2007, Bane filed his Second Amended Complaint

  (Doc. # 35) against Breathe Easy Pulmonary Services, Inc., and

  Premier Cardio Pulmonary Medical, Inc., (collectively “Breathe

  Easy”),   along   with    Lincare    Holdings,    Inc,    and   Lincare,   Inc.

  (collectively “Lincare”), seeking to recover damages and civil
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  penalties pursuant to the Federal Civil False Claims Act (“FCA”),

  31 U.S.C. §§ 3729, et seq.         The United States has declined to

  intervene in this qui tam action.          (Doc. # 2.)   Bane alleges that

  Lincare, a durable medical equipment company (DME), conspired with

  Breathe   Easy,   two   independent       diagnostic   testing   facilities

  (IDTFs), and other IDTFs around the country to submit fraudulent

  claims for payment to Medicare for medically unnecessary and

  redundant additional services performed in conjunction with pulse

  oximetry testing.

       Lincare is a national provider of oxygen and other home

  respiratory services.       (Doc. # 1 at ¶ 9.)           Breathe Easy, a

  Medicare-approved IDTF and state licensed health care clinic,

  offers a variety of diagnostic testing including oximetry testing

  to qualify Medicare recipients for oxygen-related durable medical

  equipment.   (Doc. # 201 at 4.)    Kimberly Johns is the president and

  owner of both Breathe Easy entities.          (Doc. # 35 at ¶ 10.)

       Bane has worked in the industry for many years, both as an

  employee of another DME and as an owner of his own DMEs performing

  services similar to Lincare’s.            (Id. at ¶¶ 13-15.)     During his

  years as owner of a DME, Bane communicated with Breathe Easy and

  other IDTFs relating to their provision of pulse oximetry testing

  to his clients.      (Id. at ¶ 16.)          In addition, Bane allegedly

  entered into negotiations in 2004 for Lincare to purchase his DME.

  (Id. at ¶ 19.)    Based on his discussions with employees of Breathe


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  Easy and Lincare during the period from 2000 to 2004, Bane contends

  that he observed “suspicious circumstances” surrounding Lincare’s

  relationship with Breathe Easy and other IDTFs. (Id. at ¶¶ 16-21.)

  Thereafter,       Bane    began   independently    investigating    Lincare’s

  procedures in referring its clients to IDTFs such as Breathe Easy.

  (Id. at ¶¶ 21-23.)         Based on his experience in the industry, his

  prior dealings with Lincare and Breathe Easy, and information

  gained during his investigation, Bane asserts to have direct and

  independent knowledge of the facts giving rise to this qui tam

  action.       (Id. at ¶ 24.)

          According to Bane, Defendants’ scheme to submit fraudulent

  Medicare       claims    was   accomplished   as   follows.   A    physician,

  believing that his patient’s health condition required in-home

  oxygen therapy, would contact Lincare to supply the oxygen and

  necessary equipment.1 Medicare will not pay providers like Lincare

  for oxygen unless qualifying scores on oximetry tests have been

  obtained on the patients by an independent lab such as Breathe

  Easy.       (Doc. # 209 at 3.)    Therefore, Lincare would often refer the

  physician to an IDTF to perform the qualifying tests.              If Breathe

  Easy was the referral IDTF, Lincare would provide the physician

  with an “Oxygen Assessment Referral Form” or “Pulmonary Compliance



          1
        Pulse oximetry is used to assess an individual’s respiratory
  status by determining the oxygen saturation of arterial blood. A
  pulse oximeter measures blood oxygenation by passing light waves
  through a patient’s skin. (Doc. # 35 at ¶ 26.)

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  Order Form” and instruct the physician to fill out the form, sign

  it, and return it to Breathe Easy.2        (Id. at 3-4; Doc. ## 11-2, 11-

  3)   These order forms authorized Breathe Easy to perform certain

  tests and provided supporting documentation for Breathe Easy’s

  subsequent submission of claims to Medicare for payment for the

  tests.

        Relator alleges that the order forms, which were created by

  Breathe Easy, were intentionally designed to authorize Breathe Easy

  to   do   a    comprehensive   pulmonary    diagnostic   exam   (hereafter

  “diagnostic exam”) even though the physician completing the form

  believed he was ordering a simple oximetry test.3        (Doc. # 35 at ¶¶

  27-29.)       Breathe Easy used multiple versions of its order form.4


        2
         Bane asserts that, because Lincare desires to get the
  oximetry tests done quickly so it can start billing for oxygen and
  Breathe Easy normally has a fast response time, Lincare contacts
  Breathe Easy to do the testing. (Doc. # 210 at 7.)
        3
        The diagnostic exam, on some forms referred to as an “oxygen
  assessment referral,” provides “a detailed profile of respiratory
  function in the recipient’s everyday home environment” and includes
  “overnight oximetry, rest & exercise oximetry, and clinical
  evaluation” by a nurse practitioner. (Doc. ## 37-3; 201 at 4-5.)
  The diagnostic exam is not required to pre-qualify a patient for
  oxygen therapy under Medicare. (Doc. # 210 at 3, 7.)
        4
         One version allows the physician to choose from one of
  several testing options, but “overnight oximetry” is not listed.
  (See Sealed Doc. # S-11, Composite Ex. 1, 2.) Another version does
  not designate testing options but indicates in reduced print midway
  down the page, “O2 assessment referral (includes overnight
  oximetry, rest & exercise oximetry and clinical evaluation).”
  (Id.) A third has a one-line description of the diagnostic exam
  with a small box next to it, which Breathe Easy asserts is only a
  bullet point, not a box to be checked. (Id.; Doc. # 210-2, Johns
  Dep. at 37:11-38:13.)

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  (See Sealed Doc. # S-11, Composite Ex. 1, 2.)              They all allowed the

  physician to indicate by checking a box whether the purpose of the

  exam was to “pre-qualify,” “post-qualify,” or “re-qualify” the

  patient for oxygen therapy.         (Id.)       One version of the form lists

  specific testing options and others refer only to the diagnostic

  exam.    (Id.)   None of the forms list oximetry as a testing option.

  (Id.)     According to Breathe Easy, their services automatically

  include    a   diagnostic   exam    unless       the   physician    specifically

  instructs Breathe Easy not to do the diagnostic exam. (Doc. # 210-

  2, Johns Dep. at 94:18-96-15.)

          Bane asserts that Lincare participated in this deception by

  hand delivering the order form to the physician and directing her

  to sign the form, or by partially filling out the order form to

  authorize      the   diagnostic    exam       before   forwarding   it   for   the

  physician’s signature.       (Doc. # 35 at ¶ 27.)          In other instances,

  it is alleged that Lincare forwarded unsigned order forms to

  Breathe Easy along with prescriptions signed by the physician that

  ordered only a pulse oximetry test.              (Doc. # 210 at 15-16.)

          According to Bane, upon receiving the completed order form

  from Lincare, Breathe Easy would then send a nurse practitioner to

  the patient’s home to perform the diagnostic exam and oximetry.

  (Doc. # 35 at ¶¶ 27-28.)          Breathe Easy asserts that it sent the

  test results to the physician, but Relator alleges that the results

  were sent to Lincare, who only forwarded the oximetry results to


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  the physician.          (Id. at ¶ 30.)          The physician then signed a

  certificate of medical necessity that permitted Lincare to bill

  Medicare for the oxygen.         (Id.)    Meanwhile, Breathe Easy submitted

  a claim to Medicare for the more expensive diagnostic exam.5

         Bane asserts that since at least 2000, and continuing up to

  the date that this suit was filed, numerous claims for these

  diagnostic exams have been fraudulently submitted to and paid by

  Medicare.       (Id. at ¶ 32.)       According to Bane, the claims are

  fraudulent because the diagnostic exams were not authorized by the

  physicians, the results were not provided to the physicians, and

  the evaluations were not medically necessary because the physicians

  already performed their own patient assessments before contacting

  Lincare for oxygen therapy.          (Id. at ¶ 29.)        Bane further alleges

  that       Lincare    participated   in   the    fraudulent       submissions   by

  obtaining physicians’ signatures on referral forms or forwarding

  unsigned      forms    with   prescriptions     for    oximetry    testing   only,

  knowing that Breathe Easy was going to perform the unauthorized and

  medically unnecessary diagnostic exam.                (Id. at ¶¶ 27-28, 30.)

         Bane brought suit alleging violations of § 3729(a) of the FCA

  based on Breathe Easy and Lincare’s (1) claims for medically

  unnecessary and redundant services performed in conjunction with

  pulse oximetry testing, and (2) violation of the Anti-Kickback Act,


         5
         According to Bane, the Medicare reimbursement rate for a
  diagnostic exam is approximately $115, while the reimbursement for
  a pulse oximetry is approximately $17. (Doc. # 35 at ¶ 31.)

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  42 U.S.C. § 1320a-7b.       (Id. at ¶¶ 46-61.)   Count II of the Second

  Amended Complaint for violation of the Anti-kickback Act was

  dismissed on February 5, 2008.      (Doc. # 86.)     As to the remaining

  count, Bane seeks damages on behalf of the Government of triple the

  loss to Medicare and civil penalties of between $5,500 and $11,000

  for each violation, as well as a share of the recovery on his own

  behalf of the maximum amount allowed under 31 U.S.C. § 3730(d).

        Breathe Easy and Lincare have both filed motions for summary

  judgment, arguing that Relator’s claims under the FCA must fail

  because Relator has offered no evidence that Defendants presented

  or caused to be presented a specific false claim to Medicare or

  that they made or used a false statement or record to get a

  fraudulent claim paid by Medicare, nor has he shown that Breathe

  Easy and Lincare had a conspiratorial agreement to defraud the

  Government.     (Doc. ## 199 at 16-24; 201 at 14-17.)         In addition,

  Lincare asserts that Defendant Lincare Holdings Inc., as a holding

  company that provides no services or products and does not bill

  Medicare, cannot have engaged in conduct that violated the FCA.

  (Doc. # 199 at 24.)    The Court will consider each of these motions

  in turn.

  II.   Summary Judgment Standard

        Summary    judgment     is   appropriate    “if   the     pleadings,

  depositions, answers to interrogatories, and admissions on file,

  together with the affidavits, if any, show that there is no genuine


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  issue as to any material fact and that the moving party is entitled

  to judgment as a matter of law.”      Fed. R. Civ. P. 56(c).      A factual

  dispute alone is not enough to defeat a properly pled motion for

  summary judgment; only the existence of a genuine issue of material

  fact will preclude a grant of summary judgment.                 Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

        An issue is genuine if the evidence is such that a reasonable

  jury could return a verdict for the nonmoving party.               Mize v.

  Jefferson City Bd. of Educ., 93 F.3d 739, 742 (11th Cir. 1996)

  (citing Hairston v. Gainesville Sun Publ’g Co., 9 F.3d 913, 918

  (11th Cir. 1993)).     A fact is material if it may affect the outcome

  of the suit under the governing law.           Allen v. Tyson Foods, Inc.,

  121 F.3d 642, 646 (11th Cir. 1997).            The moving party bears the

  initial burden of showing the court, by reference to materials on

  file, that there are no genuine issues of material fact that should

  be decided at trial.      Hickson Corp. v. N. Crossarm Co., 357 F.3d

  1256, 1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477

  U.S. 317, 323 (1986)).       “When a moving party has discharged its

  burden, the non-moving party must then ‘go beyond the pleadings,’

  and   by   its   own   affidavits,   or   by    ‘depositions,   answers   to

  interrogatories, and admissions on file,’ designate specific facts

  showing that there is a genuine issue for trial.”                Jeffery v.

  Sarasota White Sox, Inc., 64 F.3d 590, 593-94 (11th Cir. 1995)

  (citing Celotex, 477 U.S. at 324).


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       If there is a conflict between the parties’ allegations or

  evidence, the non-moving party’s evidence is presumed to be true

  and all reasonable inferences must be drawn in the non-moving

  party’s favor.        Shotz v. City of Plantation, Fla., 344 F.3d 1161,

  1164 (11th Cir. 2003).          If a reasonable fact finder evaluating the

  evidence could draw more than one inference from the facts, and if

  that inference introduces a genuine issue of material fact, the

  court should not grant summary judgment.                  Samples ex rel. Samples

  v. City of Atlanta, 846 F.2d 1328, 1330 (11th Cir. 1988) (citing

  Augusta Iron & Steel Works, Inc. v. Employers Ins. of Wausau, 835

  F.2d 855, 856 (11th Cir. 1988)).                    However, if the non-movant’s

  response    consists     of     nothing   “more        than    a       repetition      of    his

  conclusional allegations,” summary judgment is not only proper, but

  required.    Morris v. Ross, 663 F.2d 1032, 1034 (11th Cir. 1981).

  III. The False Claims Act (FCA)

       An entity is liable for civil penalties under the FCA if it

  “knowingly presents, or causes to be presented, to an officer or

  employee    of    the   United       States       Government       .    .    .   a   false    or

  fraudulent claim for payment or approval,” or if it “knowingly

  makes, uses, or causes to be made or used, a false record or

  statement to get a false or fraudulent claim paid or approved by

  the Government.”        31 U.S.C. § 3729(a)(1)-(2) (2006).                       In addition,

  liability    arises     where     a    person       “[c]onspires            to   defraud     the

  Government       by   getting    a    false       or   fraudulent           claim    paid     or


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  approved.”    31 U.S.C. § 3729(a)(3).       Statutory penalties include a

  civil penalty ranging from $5,000 to $10,000 per claim and treble

  damages.    § 3729(a).

        The purpose of the FCA is to encourage private persons to come

  forward    with   information   if   they   learn   that   fraud   is   being

  perpetrated against the Government.         Ragsdale v. Rubbermaid, Inc.,

  193 F.3d 1235, 1237 n. 1 (11th Cir. 1999).           A person may bring a

  civil action under the FCA on behalf of the Government (a qui tam

  action), however “[t]he alleged impropriety may not be the subject

  of a pending Government action or publicly disclosed information of

  which the accuser does not have direct and independent knowledge.”

  U.S. ex rel. Clausen v. Lab. Corp. Am., 290 F.3d 1301, 1307 (11th

  Cir. 2002); 31 U.S.C. § 3730(b), (e).          If the Government chooses

  not to exercise its statutory right to take over the suit, as is

  the case here, the Relator can recover between 25% and 30% of any

  funds recovered, plus reasonable attorney’s fees and costs.                31

  U.S.C. § 3730(d)(2).

        “The act of submitting a fraudulent claim to the Government is

  the ‘sine qua non of a False Claims Act violation.’” Corsello v.

  Lincare, Inc., 428 F.3d 1008, 1012 (11th Cir. 2005) (quoting

  Clausen, 290 F.3d at 1311).      In the healthcare context, liability

  does not arise from a healthcare provider’s disregard of Government

  regulations or failure to maintain proper internal policies unless

  those acts allow the provider to knowingly ask the Government to


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  pay amounts it does not owe.       Clausen, 290 F.3d at 1311.

  IV.    Breathe Easy’s Liability under the FCA

         A.   Section 3729(a)(1)

         In order to establish a violation of the FCA, Relator must

  establish the following three elements: (1) a false or fraudulent

  claim; (2) which was presented, or caused to be presented, by the

  defendant to the United States for payment or approval; (3) with

  the knowledge that the claim was false.”           United States ex rel.

  Walker v. R & F Props. of Lake County, Inc., 433 F.3d 1349, 1355

  (11th Cir. 2005); 31 U.S.C. § 3729(a)(1)-(2).              “Knowingly” means

  that a person “(1) has actual knowledge of the information; (2)

  acts in deliberate ignorance of the truth or falsity of the

  information; or (3) acts in reckless disregard of the truth or

  falsity of the information, and no proof of specific intent to

  defraud is required.”       § 3729(b).

         Breathe Easy asserts that Relator has not established the

  existence of a single false claim because there is no testimony by

  any physician regarding a specific test on a specific patient that

  was unauthorized, unnecessary, or redundant.          (Doc. # 201 at 13.)

  In    addition,   because   the   Breathe   Easy   order    forms   were   not

  themselves submitted to the Government, Breathe Easy contends that

  it did not present a false claim.           (Id. at 12.)     Finally, it is

  argued that Breathe Easy did not knowingly submit a false claim

  because reasonable minds could differ as to whether the diagnostic


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  exams were properly billed to the Government.          (Id. at 12-13.)

        The Court finds that Relator has raised a genuine issue of

  material fact as to the existence of false Medicare claims.

  Relator has identified and submitted proof of numerous claims for

  pulmonary diagnostic exams that were paid by Medicare on behalf of

  patients whose physicians submitted prescriptions ordering only

  pulse oximetry tests.         (Doc. # 209 at 15-16; Sealed Doc. S-11)

  Composite Exhibits 1 and 2, filed under seal with Relator’s

  opposition memorandum, contain unsigned Breathe Easy order forms

  and prescriptions signed by the patients’ physicians requesting

  only oximetry testing for over 100 individuals.6           For each of these

  patients,    Relator   also    provides   written   results    of   pulmonary

  diagnostic    exams    performed    by    Breathe   Easy      employees   and

  documentation of Medicare payment for the diagnostic exams.7

        Some of the Breathe Easy order forms for these patients

  indicate “V.O. [(verbal order)] received from Dr.’s office, Dr. is

  aware of referral to Breathe Easy.”          Breathe Easy argues that a


        6
         Although oximetry testing is the only procedure ordered on
  the prescriptions, the language used and the type of oximtery
  requested varies.     For example, many prescriptions specify
  overnight oximetry, while others request oximetry at rest and with
  activity. However, the Court’s review of the materials did not
  reveal any prescriptions that requested diagnostic exams.
        7
         Breathe Easy states that the diagnostic exams are billed to
  Medicare under Current Procedural Terminolgy (“CPT”) code numbers
  ranging from 99241 to 99245. (Doc. # 201 at 5.) Relator obtained
  Medicare payment data from First Coast Service Options, Florida’s
  Medicare carrier, which reflects charges for these same patients
  for CPT codes falling within these numbers.

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  written physician order is not required to authorize an IDTF such

  as Breathe Easy to perform a test, implying that physicians in this

  case verbally requested the diagnostic tests that were performed by

  Breathe Easy.     (Doc. # 201 at 8.)        In support of this assertion,

  Breathe Easy refers to the Local Coverage Determination (“LCD”) for

  IDTFs that was issued to Florida’s Medicare Carrier by the Centers

  for Medicare and Medicaid Services (“CMS”) and which determines

  whether a service is reasonable and necessary.              (Id.)

        LCD number L26304 provides that

        All procedures performed by the IDTF must be specifically
        ordered in writing by the physician who is treating the
        beneficiary, or a non-physician practitioner, nurse
        practitioner, clinical nurse specialist, or physician
        assistant . . . who furnishes . . . a consultation or
        treats a beneficiary for a specific medical problem and
        who uses the results of a diagnostic test in the
        management of the beneficiary’s specific medical problem
        . . . .

  (Doc. # 201-18 at 4-5.)       Although L26304 permits physician orders

  to   be   received   by   telephone   or   email,   those    orders   must   be

  documented in the patient’s records kept by both the physician and

  the IDTF and “the IDTF must obtain an order that is written, dated,

  and signed by the treating physician before a claim is submitted

  for the service.”         (Id. at 5.)      Thus, where a verbal order is

  indicated, the burden is on Breathe Easy to provide proof that a

  written doctor’s order for a diagnostic test was received prior to

  the claim being submitted to Medicare.

        Some of the order forms submitted by Relator have a check in


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  the box indicating a diagnostic exam, however, those order forms

  are not signed by the physician and the accompanying prescription

  that is signed by the physician clearly does not order such an

  exam.    Further, many of the order forms specifically reference the

  directive    set   forth   in   the    accompanying     prescription   through

  language such as “see attached prescription.”               Claims are “false”

  if   they   are    submitted    in    violation    of   a   controlling   rule,

  regulation or standard.          See United States v. Southland Mgmt.

  Corp., 326 F.3d 669, 674 (5th Cir. 2003) (providing that “[w]hether

  a claim is valid depends on the contract, regulation, or statute

  that supposedly warrants it”).          In this case, Breath Easy has not

  complied with Medicare’s requirement that the test be specifically

  ordered in writing by the physician.              Thus, Relator has provided

  enough evidence of false claims to survive summary judgment on this

  issue.

          The Composite Exhibits also create a genuine issue as to

  whether Breathe Easy “presented” false claims for unauthorized

  diagnostic tests to Medicare.                Data provided by First Coast,

  Florida’s Medicare carrier, evidences payment by Medicare for

  diagnostic tests or other pulmonary testing that were not reflected

  on the prescriptions submitted by the physician.               Thus, there is

  compelling evidence that Breathe Easy presented false claims to the

  Government.

          Finally, Relator has met his burden in showing that Breathe


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  Easy “knowingly” presented the false claims to Medicare.                    Breathe

  Easy itself pointed to the language of LCD number L26304, which

  sets forth the requirement that IDTFs submit claims only for those

  procedures    that     were   specifically       ordered     by   a   beneficiary’s

  treating physician.           (Doc. # 201 at 8.)             Thus, Breathe Easy

  submitted     claims     knowing    that       they   were    required     to    have

  documentation of written physicians’ authorization for each test.

  In addition, the order forms and prescriptions that are contained

  in the Composite Exhibits, many of which bear the fax number of

  Breathe Easy and stamps indicating the dates the orders were

  received and paid, represent sufficient evidence that Breathe Easy

  had reviewed these documents before submitting the claims to

  Medicare.        Therefore, Breathe Easy is not entitled to summary

  judgment on Relator’s claims under § 3729(a)(1).

          B.   Section 3729(a)(2)

          Breathe Easy is also subject to liability under § 3729(a)(2)

  if it knowingly made, used, or caused to be made or used, a false

  record or statement to get a claim for unauthorized tests paid by

  Medicare.     Breathe Easy argues that liability under § 3729(a)(2)

  cannot be established because there is no direct link between its

  order    forms,    which   have    been    characterized      as      misleading   by

  Relator, and reimbursement by Medicare. (Doc. # 201 at 16.) Under

  Allison Engine Co., Inc. v. United States ex rel. Sanders, 128

  S.Ct.    2123,    2130   (2008),    if    an    entity   does     not   intend     the


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  Government to “rely on the false statement as a condition of

  payment,” then there is not a direct link between the false

  statement and the loss to the Government to support liability under

  § 3729(a)(2).

        Breathe Easy’s argument is misplaced, however, because it is

  the claim for reimbursement to Medicare that constitutes the false

  statement in this case, not the order form.                  The claim for

  reimbursement, which Breathe Easy knew was contingent upon receipt

  of written authorization by the patient’s physician, was a false

  statement directly linked to the Government’s decision to pay for

  the diagnostic tests.      Thus, there is a genuine issue of material

  fact as to Breathe Easy’s liability under § 3729(a)(2).

        C.    Section 3729(a)(3)

        Relator also brings suit under § 3729(a)(3), alleging that

  Breathe Easy conspired with Lincare to defraud the Government by

  getting    unauthorized   services    paid   or   approved    by   Medicare.

  Relator sets forth an elaborate scheme whereby Lincare knowingly

  aided Breathe Easy in getting the unnecessary and unauthorized

  pulmonary diagnostic tests submitted and paid by Medicare for the

  sole purpose of getting patients qualified for Medicare-reimbursed

  oxygen more quickly. According to Relator, Lincare participated by

  forwarding Breathe Easy order forms, often partially filled out by

  Lincare employees, to physicians who contacted Lincare to initiate

  oxygen therapy on their patients. Lincare then allegedly forwarded


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  the completed forms to Breathe Easy with knowledge that Breathe

  Easy was going to perform diagnostic tests or other procedures that

  the physicians did not want done.

          To establish liability under § 3729(a)(3), a Relator must

  establish “(1) that the defendant conspired with one or more

  persons to get a false or fraudulent claim allowed or paid by the

  United States, and (2) that one or more conspirators performed any

  act to get a false or fraudulent claim allowed or paid.”            United

  States v. Hill, 676 F. Supp. 1158, 1173 (N.D. Fla. 1987).            There

  must be proof of an agreement, a “meeting of the minds,” between

  the alleged conspirators to achieve the unlawful purpose.           United

  States ex rel. Durcholz v. FKW, Inc., 189 F.3d 542, 545-46 (7th

  Cir. 1999).     The Supreme Court has explained that liability for

  conspiracy under the FCA requires proof “that the conspirators

  intended ‘to defraud the Government.’” Allison Engine, 128 S.Ct. at

  2130.

          The Court finds that Relator has failed to present sufficient

  evidence of a conspiratorial agreement between Lincare and Breathe

  Easy for the purpose of defrauding the Government.             See United

  States ex rel. Stinson, Lyons, Gerlin & Bustamante, P.A. v.

  Provident Life & Accident Ins. Co., 721 F. Supp. 1247, 1259 (S.D.

  Fla. 1989) (providing that “[t]he essence of a conspiracy under the

  [FCA] is an agreement between two or more persons to commit a

  fraud”).     While circumstantial evidence of a conspiracy may be


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  enough to withstand summary judgment, the evidence must reasonably

  support     an   inference       that    Lincare         shared       Breathe   Easy’s

  conspiratorial objective.         Durcholz, 189 F.3d at 545-46 (affirming

  summary judgment where Relator’s evidence “did not tend to show

  that [one defendant] shared [the other defendant’s] conspiratorial

  motive”).

        First, Relator has not identified what the terms of the

  alleged agreement were or who entered into that agreement. Relator

  does not even offer evidence of any direct communications between

  the two Defendants.       He merely asserts that Breathe Easy owner Kim

  Johns and Breathe Easy Manager Karen Nieto testified that “all of

  Breathe Easy’s referral sources, including Lincare, were aware of

  Breathe Easy’s company protocol or office procedure of doing

  clinical evaluations on all patients referred for oximetry testing

  unless the referring physician specifically said not to.”                       (Doc. #

  210 at 10.)      In addition, Relator states that Johns “informed a

  Lincare compliance official that Breathe Easy billed Medicare for

  the home visits its nurse practitioners routinely conducted.”

  (Id.) These vague assertions are certainly not enough to establish

  the existence of a conspiracy.

        The   only       other    evidence      Relator      offers       regarding     a

  conversation     between       employees      of   the    two     entities      is   the

  deposition testimony of Lincare Center Manager Tessa Bellfy, who

  states    that   she    once    called   Breathe     Easy       and    questioned     an


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  unidentified “representative” about which billing codes were used

  for clinical evaluations.       (Doc. ## 210 at 11-12; 210-2 at 23.)

  Bellfy’s testimony reflects that the Breathe Easy representative

  gave her the billing codes and told her that “they were approved

  through Medicare to do that” and that “they send a tech out to do

  that.”    (Id.)    Bellfy reports that she told her Area Manager

  Stephanie Woods about the conversation and asked why Breathe Easy

  was   “billing    for   something   that   the   doctors   aren’t   really

  ordering,” and that Woods responded that Lincare has “no play in

  what the lab does.”     (Id. at 23-24.)

        Based on only these very limited communications, Relator

  concludes that the two entities conspired to defraud Medicare.           To

  sustain a claim for conspiracy, a Relator must provide evidence of

  an agreement and must identify with specificity the individuals who

  participated in the conspiracy.          See United States v. JFK Med.

  Ctr., Case No. 01-8158-CIV, 2002 WL 31941007 at * 5 (S.D. Fla.

  2002) (citing Lombard’s, Inc. v. Prince Mfg., Inc., 753 F.2d 974,

  975 (11th Cir. 1985)).      Relator has failed to do either.

        Although Relator has proffered testimony showing that certain

  Lincare employees questioned their own managers about Breathe

  Easy’s testing practices, the testimony also reflects that Lincare

  managers consistently responded to the effect that Lincare and

  Breathe Easy were separate entities and that Lincare had no control

  over Breathe Easy’s practices.       (Doc. # 210 at 11-13.)       There is


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  simply no evidence that there was a meeting of the minds between

  the Lincare and Breathe Easy entities to submit false Medicare

  claims.

         Nor is there proof of a shared conspiratorial objective.

  Relator offers evidence that certain Lincare managers were aware of

  Breathe Easy’s policy of doing diagnostic exams on all patients

  referred for qualifying oximetry testing and that Lincare continued

  to refer physicians to Breathe Easy in spite of known complaints

  from doctors about the extra charges.             (Id. at 10-14.)        Based on

  Lincare’s continued referrals in the face of questions by several

  of its employees, Relator asserts that such actions “demonstrate[]

  that   both   sets   of    defendants    shared     the   same    conspiratorial

  objective     of   permitting     Breathe    Easy/Premier        to   defraud   the

  Medicare program in return for providing Lincare the fast oximetry

  testing it needed . . . .”            (Id. at 14.)         However, this very

  statement highlights the different objectives of the two entities.

  As Relator points out, Lincare’s objective was to get a quick turn-

  around on qualifying oximetry tests.           (Id. at 3-4, 14.)

         Relator has not alleged that Lincare shared in the proceeds

  from the false claims and the record amply supports an independent

  and legitimate reason for Lincare’s referrals to Breathe Easy.

  Lincare   employees       have   testified   that    it   became      increasingly

  difficult to get independent laboratories to come out to do

  oximetry testing for oxygen qualification and that both Breathe


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  Easy and another IDTF, Life Care Diagnostic, were frequently used.

  (Doc. ## 210-2 at 5; 210-3 at 21-22.)                Employees have also

  indicated that Lincare would refer to whichever IDTF could “get it

  done the quickest.”       (Doc. ## 210-2 at 5; 210-3 at 3.)         The record

  before the Court does not evidence any relationship or shared

  objective regarding submission of false claims between Lincare and

  Breathe Easy to suggest some sort of conspiratorial agreement.

        Finally, Relator cites to United States ex rel. Long v. SCS

  Business & Technical Institute for the proposition that Lincare’s

  conduct in allowing the fraud to continue by not preventing Breathe

  Easy from submitting what it knew were false claims is sufficient

  to establish a conspiracy under the FCA.           999 F. Supp. 78, 89-90

  (D.D.C. 1998), rev’d in part on other grounds, 173 F.3d 870 (D.C.

  Cir. 1999).      In Long, the Relator alleged that New York state

  officials conspired with SCS, the manager of five proprietary

  schools in New York, to commit fraudulent acts in order to obtain

  federal loan funding.        Id. at 81.      The court held that Relator

  described New York’s participation in the alleged conspiracy, which

  was based on New York officials’ actions to conceal and protect

  SCS’s pervasive fraud, with sufficient particularity to survive a

  motion to dismiss.     Id. at 89-90.

        Long is distinguishable from this case, however, because the

  New   York    officials    in   Long   had   the   authority   to    monitor,

  investigate    and   ultimately    prevent   SCS   from   engaging     in   the


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  fraudulent activity.      Id. at 81, 89-90.       In addition, New York

  received a portion of the federal funding that was gained as a

  result of the alleged fraud and specific New York officials were

  named as having participated in and benefitted from the conspiracy.

  Id. at 90. In contrast, Lincare had no authority to investigate or

  control Breathe Easy’s billing practices and it did not receive any

  of the funds reimbursed by Medicare. In addition, as stated above,

  Relator has pointed to no individuals who participated in the

  alleged conspiracy.

        Thus, the Court does not find that Relator has raised a

  genuine issue of material fact as to its claim for conspiracy under

  § 3729(a)(3).      Breathe Easy’s summary judgment must be denied,

  however, because there remain triable issues of fact as to Breathe

  Easy’s liability under § 3729(a)(1) and § 3729(a)(2) of the False

  Claims Act.

  IV.   Lincare’s Liability under the FCA

        Lincare also seeks summary judgment in its favor as to

  Realtor’s claims under §§ 3729(a)(1)-(3) of the FCA. The Court has

  already considered the issue of Defendants’ conspiracy under §

  3729(a)(3) of the Act and concluded that there is insufficient

  evidence of a conspiracy to survive summary judgment on that claim.

        As to liability under § 3729(a)(1), Relator has not alleged

  that Lincare presented a false claim to the Government.            Relator

  asserts, however, that Lincare “caused” a false claim to be


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  submitted by presenting Breathe Easy order forms to physicians,

  directing them to complete the forms, transmitting the forms back

  to Breathe Easy, and in some cases attaching prescriptions for

  pulse oximetry to the forms.      (Doc. # 210 at 17.)     Because Lincare

  allegedly knew that Breathe Easy was going to perform more than the

  oximetry tests ordered on those prescriptions, Relator contends

  that Lincare is liable for causing the submission of false claims.

        However, the element of causation under the FCA requires more

  than a “broad ‘but for’ test.”        United States v. Hibbs, 568 F.2d

  347, 349 (3d Cir. 1977).     The Relator must show that the defendant

  “knowingly assisted in causing the government to pay claims which

  were grounded in fraud.”       United States v. Mackby, 261 F.3d 821,

  828 (9th Cir. 2001) (citing United States ex rel. Marcus v. Hess,

  317 U.S. 537, 544-45 (1943)).         Here, there is no evidence that

  Lincare did anything other than forward completed order forms and

  prescriptions to Breathe Easy.

        Although   one   Lincare   employee,   Ann   Patrice   Rooney,   has

  testified that when a prescription was not received from the

  physician she would fill out the Breathe Easy order form, check the

  “complete pulmonary evaluation box,” and send it to the physician’s

  office for his signature (Doc. # 210-3 at 44), there is no evidence

  that she or any other Lincare employee ever made changes to the

  order forms after they were signed.           Rooney, as well as other

  Lincare employees, have asserted that they believed that Breathe


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  Easy was just billing for oximetry tests or whatever test the

  prescription called for.      (Doc. ## 210-2 at 32, 60; 210-3 at 40.)

        Because no changes were made to the forms after they were

  signed by the physician, it was reasonable for Lincare to believe

  that the physician had read the form before signing and intended to

  authorize the indicated test.        In cases where the form was not

  signed, Lincare forwarded a signed doctor’s prescription specifying

  the requested tests.      Relator has not alleged that any of these

  actions by Lincare violated any rule or regulation. The Court does

  not believe that Lincare’s conduct related to securing physicians’

  signatures on order forms and transmitting accurate copies of order

  forms and prescriptions to Breathe Easy, can be said to have

  “caused” Breathe Easy to submit fraudulent claims for unnecessary

  tests.

        The   link   between   Lincare’s    conduct   and   Breathe   Easy’s

  submission of Medicare claims is simply too attenuated to support

  liability under the causation element alone.        See United States ex

  rel. Drescher v. Highmark, Inc., 305 F. Supp. 2d 451, 460 (E.D. Pa.

  2004) (providing that the FCA does not give the government “carte

  blanche to proceed under the FCA using indirect theories of

  causation which offer only attenuated links between the parties”).

  Courts finding liability based on causation have consistently based

  their holdings on a strong and direct causal link between the




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  defendant’s actions and the submission of the false claim.8          Here,

  the direct causal link is missing because Lincare had no control

  over Breathe Easy’s claims procedures, gave no suggestion or

  instruction to Breathe Easy regarding its Medicare submissions, and

  in no way participated in Breathe Easy’s submission of bills to

  Medicare.

        The only other basis for liability is that Lincare violated §

  3729(a)(2) by knowingly making or causing to be made a false record

  or statement to get fraudulent claims paid by the Government.

  Here, also, Relator has failed to establish the requisite elements

  to survive a summary judgment motion.

        In Allison Engine, the Supreme Court explained that the

  language “to get” in § 3729(a)(2) “denotes purpose, and thus a

  person must have the purpose of getting a false or fraudulent claim

  ‘paid or approved by the Government’ in order to be liable under §

  3729(a)(2).” 128 S.Ct. at 2128. Further, the false record must be

  “material to the government’s decision to make the payment sought


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         For example, in United States v. Krizek, 111 F.3d 934, 942
  (D.C. Cir 1997), a physician was found liable for causing false
  claims to be submitted where the physician “delegated to his wife
  authority to submit claims on his behalf.” In United States v.
  Thurston, 358 F.3d 51 (1st Cir. 2004), vacated on other grounds,
  543 U.S. 1097 (2005), defendant, vice president of the controlling
  corporation, was found liable for fraudulently billing for
  medically unnecessary laboratory tests where he specifically
  instructed his subordinates to bundle the unnecessary test with a
  commonly ordered panel of tests. Id. at 56-57, n. 4. In Mackby,
  261 F.3d at 828, the defendant instructed both the clinic’s office
  manager and its Medicare billing service to fraudulently use his
  father’s Medicare PIN number on Medicare claim forms.

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  in the defendant’s claim.”      U.S. ex rel. SNAPP, Inc. v. Ford Motor

  Co., 532 F.3d 496, 505 (6th Cir. 2008).                 As the Court has

  thoroughly explained above in its analysis of the conspiracy claim,

  Relator has provided no evidence that any of Lincare’s actions were

  taken for the purpose of defrauding the Government.                 Further,

  Relator has pointed to no specific false statement or record that

  supports liability under this provision.

         Relator does argue that the Breathe Easy order form was

  “material to Medicare as the underlying basis for the medical

  necessity of the clinical evaluations billed by Breathe Easy” (Doc.

  # 210 at 19), so the Court will assume that the order forms are

  alleged to constitute the false statements. However, this argument

  also fails because Lincare had no hand in creating the order forms

  and there is nothing to suggest that Lincare ever entered any

  information on the order forms that was fraudulent.              There is no

  proof that Lincare checked the box labeled “verbal order” when in

  fact   no   verbal   order   was    received    or   that   it   entered   any

  information on the order forms after they were signed by the

  physicians.

         In addition, it is not clear that the Government relied on the

  Breathe Easy order form as a condition of payment. The order forms

  were not submitted to the Government for payment and were not a

  requirement for payment.           In fact, evidence in the Composite

  Exhibits    submitted   by   Relator    shows   that   Breathe    Easy   often


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  performed    tests    and   billed   Medicare   on   the   basis   of   signed

  prescriptions.       Furthermore, as this Court previously noted, the

  false statement to the Government was not the order form, as

  Relator is contending, but rather the Medicare claim that Breathe

  Easy submitted to the Government.

        Thus, because Relator has failed to raise a genuine issue of

  material fact as to Lincare’s liability under § 3729(a)(1), §

  3729(a)(2), or § 3729(a)(3), Lincare’s motion for summary judgment

  is due to be granted.

        Accordingly, it is hereby

        ORDERED, ADJUDGED, and DECREED:

  (1)   Breathe Easy Pulmonary Services, Inc.’s and Premier Cardio

        Pulmonary Medical, Inc.’s Motion for Summary Judgment (Doc. #

        201) is DENIED.

  (2)   Lincare’s Motion for Summary Judgment (Doc. # 199) is GRANTED.

  (3)   The Clerk is directed to terminate any pending motions and

        deadlines relating to Defendants Lincare Holdings, Inc. and

        Lincare, Inc., and dismiss them from the case.

        DONE and ORDERED in Chambers in Tampa, Florida, this 23rd day

  of January 2009.




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  Copies:

  All Counsel of Record




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